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FOR THE WESTERN DISTRICT OF TENNESSEE

WESTERN DIVISION TrME: 3 i/O FVW
UNITED sTATEs oF AMERICA, * 'N*T'ALS¢¢L_
Plaintiff, *
v. * CR. No. 04-20299-1)
DONNIE JoHNsoN, *
Defendant. *

 

ORDER TO RELEASE DEFENDANT

 

After having considered the Motion for release of the defendant, Donnie Johnson, the Court
finds that the defendant Shall be immediately release and defendant’s bond shall be reinstated The
defendant shall report to pretrial Services and Subniit to random drug testing Weekly until the

disposition of his case.

lt is so Ordered, Adjudged and Decreed this / 7 day of June 2005.

@/ %/%

/Ut{lted States District Court Judge

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This notice confirms a copy of the document docketed as number 49 in
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Doris A. Randle-Holt

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Honorable Bernice Donald
US DISTRICT COURT

